Case 2:19-mj-00579-MAT Document 1 Filed 12/03/19 Page 1 of 27
AO.106 Rev. 04/10) Application for a Search. Warrant (Modified ied: WAWD > 10-26-18)

   
   

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UNITED STATES DISTRICT Court ”
for the DEC 03 2019
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In the Matter of the Search of DEPUTY
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Br rie tif the person by name and address)

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APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

Information associated with account 100006827347382 that is stored at premises controlled by Facebook Inc., as more fully described in Attachment A,
incorporated herein by reference.

located in the Northem District of California , there is now concealed (identify the
person or describe the property to be seized):

Information associated with account 100006827347382
that is stored at premises controlled by Facebook Inc.,
as more fully described in Attachment A.

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See Attachment B, incorporated herein by reference.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
of evidence of a crime;
CG} contraband, fruits of crime, or other items illegally possessed;
(©) property designed for use, intended for use, or used in committing a crime;
(3 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
21 U.S.C. § 841(@X1) Distribution of, and Possession with Intent to Distribute, Controtled Substances (heroin and methamphetamine)
21 USC. § 841 & 846 Conspiracy to Distribute Controlled Substances

The application is based on these facts:
¥ See Affidavit of FBI Special Agent Shawna McCann continued on the attached sheet.

[/] Delayed notice of days (give exact ending date if more than 30 days: __ 92/21/2020 is requested
under 18 U.S.C. §.3103a, the basis of which is set forth on the attached sheet.

 

 

Pursuant to Fed. R. Crim. P. 4.1, this warrant is presented: [Joy relia nic ~~ or: 7 telephonically recorded.

NESEY BI Special Agpnt

“Printed name and title

 

© The foregoing affidavit was sworn to before me and signed i in my presence, or

  
   

 

 

 

O The above-named agent provided a sworn statement attesting to the truth ¢ davit by telephone.
Date: '2- 9 — | |
Aidge’s signature
City and state: Seattle, Washington Mary Alice Theiler, United States Magistrate Judge
Printed name and title

 

 

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AFFIDAVIT OF SHAWNA MCCANN

STATE OF WASHINGTON )
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COUNTY OF KING ) ‘

I, SHAWNA MCCANN, a Special Agent with the Federal Bureau of

Investigation, Seattle, Washington, having been duly sworn, state as follows:
AFFIANT BACKGROUND

1. I am employed as a Special Agent (SA) with the Federal Bureau of
Investigation (FBI) and have been employed with the FBI since September 2017. [am
currently assigned to the Seattle Field Division where I am a member of the violent
crime, gang, and Transnational Organized Crime — Western Hemisphere squad. In this
capacity, I investigate, inter alia, violations of the Controlled Substance Act, Title 21,
United States Code, Section 801 et seq. and related offenses. I have received specialized
training in the enforcement and investigation of the Controlled Substance Act. I have
received over 400 hours of classroom training including, but not limited to, drug
identification, drug interdiction, money laundering techniques and schemes, smuggling,
and the investigation of individuals and/or organizations involved in the illegal
possession, possession for sale, sales, importation, smuggling, manufacturing, and illicit
trafficking of controlled substances.

2. In my role as a Special Agent for the FBI, I have participated in narcotics
investigations (i.e., heroin, cocaine, marijuana, and methamphetamine) which have
resulted in the arrest of individuals and the seizure of illicit narcotics and/or narcotic-
related evidence and the forfeiture of narcotics related assets. I have been involved in the
service of federal and state search warrants as part of these investigations. I have
encountered and have become familiar with various tools, methods, trends, paraphernalia
and related articles utilized by various traffickers in their efforts to import, export,
conceal and distribute controlled substances. I am also familiar with the manner in which

drug traffickers use telephones, often cellular telephones, to conduct their unlawful

Affidavit of SHAWNA MCCANN - 1 UNITED STATES ATTORNEY
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operations, and how they code their conversations to disguise their unlawful activities. I
am also familiar with the various methods of packaging, delivering, transferring, and »
laundering drug proceeds. Additionally, through my training and experience, I can
identify illegal drugs by sight, odor, and texture.

3. I have also worked on drug investigations involving the use of court-
authorized wiretaps under Title III. In that capacity, I have had the opportunity to
monitor, listen to, and review transcripts and line sheets (prepared by linguists)
documenting the content of hundreds of intercepted conversations involving the
trafficking of cocaine, methamphetamine, heroin, and other narcotics, by persons who
used some form of code to thwart law enforcement detection. I have also interviewed
defendants at the time of their arrest and have debriefed, spoken with, and/or interviewed
numerous drug dealers or confidential sources (informants) at proffer and field interviews
who were experienced in speaking in coded conversation over the telephone. From these
interviews, and also from discussions with other experienced agents, I have gained
knowledge regarding the various methods, techniques, codes, and/or jargon used by drug
traffickers in the course of their criminal activities, including their use of firearms to
protect their narcotics related activities and of cellular telephones, other electronic means
to facilitate communications while avoiding law enforcement scrutiny.

4, I have written affidavits in support of court authorized federal warrants and
orders in the Western District of Washington for GPS tracking of telephones, Pen
Register/Trap and Trace, and search warrants. Additionally, I have testified in grand jury
proceedings, written investigative reports, and conducted and participated in numerous
interviews of drug traffickers of various roles within drug organizations, which has
provided me with a greater understanding of the methods by which drug trafficking
organizations operate. |

5. I have obtained the facts set forth in this affidavit through my personal
participation in the investigation described below; from oral and written reports of other

law enforcement officers; and from records, documents and other evidence obtained

Affidavit of SHAWNA MCCANN - 2 UNITED STATES ATTORNEY
USAO 2019R00179 (Search Warrant to Facebook) ao ee ORIOL

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during this investigation. I have obtained and read official reports prepared by law
enforcement officers participating in this investigation. When I refer to registration
records for vehicles, I am relying on records obtained from the Washington State
Department of Licensing (DOL). Insofar as I have included event times in this affidavit,
those event times are approximate.

6. Because this affidavit is being submitted for the limited purpose of
obtaining a search warrant for the Facebook account referenced below, I have not
included every fact known to me concerning this investigation. Rather, I have set forth
only the facts that I believe are necessary for a fair determination of probable cause and
to show that there is probable cause to issue the requested warrant.

PURPOSE OF THIS AFFIDAVIT

7. This affidavit is being submitted pursuant to Federal Rule of Criminal
Procedure 41 and 18 U.S.C. § 2703(c)(1)(A) in support of an application to obtain a
search warrant authorizing Facebook to disclose to the government records and other
information in its possession, pertaining to the subscriber or customer associated with the
following Facebook account as further described in Attachment A incorporated herein.
There is probable cause to believe that this Facebook account is being used for the
purposes of drug trafficking. As discussed below, I, along with other agents, have been
actively investigating the JMENEZ-HERNANDEZ TCO, including obtaining court-
authorized wiretaps on seven phones used by the organization. The Facebook account of
this current application has not been the subject of any prior warrant or wiretap
applications.

a. “Gonzalo Villasenor Godinez,” with the Facebook ID number
100006827347382, and URL: Facebook.com/GONZALO.villasenorgodinez. 1

8. All of the requested information is stored at a premises owned, maintained,
controlled, or operated by Facebook, a social networking company headquartered in
Menlo Park, California. The information to be searched and seized is described in the

following paragraphs and in Attachment B, incorporated herein. As set forth below, there

Affidavit of SHAWNA MCCANN -3 UNITED STATES ATTORNEY

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is probable cause to believe that the information sought would provide evidence of
violations of drug trafficking crimes in violation of Title 21, United States Code, Sections
841 and 846, as well as identify contraband or fruits of crime, property designed or
intended for use in crime, and the location of a person to be arrested.

KNOWLEDGE BASED ON TRAINING AND EXPERIENCE

9, Based on my training and experience, and my discussions with other
experienced officers and agents involved in drug investigations, I know that drug dealers
use cellular telephones, and communication applications downloaded on cellular
telephones, as a tool or instrumentality in committing their criminal activity. They use
them to maintain contact with their suppliers, distributors, and customers. They prefer
cellular telephones and cellular telephone-based communication applications because,
first they can be purchased without the location and personal information that land lines
require. Second, they can be easily carried to permit the user maximum flexibility in
meeting associates, avoiding police surveillance, and traveling to obtain or distribute
drugs. Third, they can be passed between members of a drug conspiracy to allow
substitution when one member leaves the area temporarily. Since cellular phone use
became widespread, every drug dealer I have contacted has used one or more cellular
telephone for his or her drug business. I also know that it is common for drug traffickers
to retain in their possession phones that they previously used, but have discontinued
actively using, for their drug trafficking business. Based on my training and experience,
the data maintained in a cellular telephone, and the corresponding communication
applications, used by a drug dealer is evidence of a crime or crimes.

10. Based on my training and experience, traffickers will utilize Facebook and
its messaging service “Facebook Messenger” to communicate with each other as well as
to facilitate their narcotics trafficking activities. At times, even when agents are
intercepting phone conversations with targets, we will not get all of the communications
of the target due to the target’s use of email and third party applications such as
“WhatsApp” and/or Facebook.

Affidavit of SHAWNA MCCANN - 4 UNITED STATES ATTORNEY
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11. I know through training and experience, including experience with this
investigation, that individuals involved in the distribution of controlled substances and
other criminal activity often use coded words and inferences when referring to their
illegal activity. I have used this training and experience, as well as the training and
experience of other law enforcement officers familiar with this investigation, to include
what I believe to be an accurate translation for these coded words and inferences which
are included in brackets in this affidavit. The following summaries are based on my
review of the line sheets of intercepted communications, and from my discussions with
other law enforcement officers familiar with this investigation who have reviewed the
line sheets. Although these line sheets provide an accurate summary of the intercepted
communications, they are not necessarily the final transcripts of the intercepted
communications. The paragraphs herein include the summaries of pertinent portions of
intercepted calls and are not necessarily the entire conversations between the parties
involved. Based on my training and experience, and the training and experience of other
agents, in summarizing these calls in this affidavit I have included my understanding of
certain coded language in brackets.

BACKGROUND KNOWLEDGE OF FACEBOOK

12. Facebook owns and operates a free access social networking website of the
same name that can be accessed at http://www.facebook.com. Facebook allows its users
to establish accounts with Facebook, and users can then use their accounts to share
written news, photographs, videos, and other information with other Facebook users, and
sometimes with the general public.

13, Facebook asks users to provide basic contact and personal identifying
information to Facebook, either during the registration process or thereafter. This
information may include the user’s full name, birth date, gender, contact e-mail
addresses, Facebook passwords, Facebook security questions and answers (for password

retrieval), physical address (including city, state, and zip code), telephone numbers,

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screen names, websites, and other personal identifiers. Facebook also assigns a user
identification number to each account.

14, Facebook users may join one or more groups or networks to connect and
interact with other users who are members of the same group or network. A Facebook
user can also connect directly with individual Facebook users by sending each user a
“Friend Request.” If the recipient of a “Friend Request” accepts the request, then the two
users will become “Friends” for purposes of Facebook and can exchange
communications or view information about each other. Each Facebook user’s account
includes a list of that user’s “Friends” and a “News Feed,” which highlights information
about the user’s “Friends,” such as profile changes, upcoming events, and birthdays.

15. Facebook users can select different levels of privacy for the
communications and information associated with their Facebook accounts. By adjusting
these privacy settings, a Facebook user can make information available only to himself or
herself, to particular Facebook users, or to anyone with access to the Internet, including
people who are not Facebook users. A Facebook user can also create “lists” of Facebook
friends to facilitate the application of these privacy settings. Facebook accounts also
include other account settings that users can adjust to control, for example, the types of
notifications they receive from Facebook.

16. Facebook users can create profiles that include photographs, lists of
personal interests, and other information. Facebook users can also post “status” updates
about their whereabouts and actions, as well as links to videos, photographs, articles, and
other items available elsewhere on the Internet. Facebook users can also post information
about upcoming “events,” such as social occasions, by listing the event’s time, location,
host, and guest list. In addition, Facebook users can “check in” to particular locations or
add their geographic locations to their Facebook posts, thereby revealing their geographic
locations at particular dates and times. A particular user’s profile page also includes a

“Wall,” which is a space where the user and his or her “Friends” can post messages,

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attachments, and links that will typically be visible to anyone who can view the user’s
profile.

17. Facebook has a “Photos” application, where users can upload an unlimited
number of albums and photos. For Facebook’s purposes, a user’s “Photoprint” includes
all photos uploaded by that user that have not been deleted and other items.

18. | Facebook users can exchange private messages on Facebook with other
users. These messages, which are similar to e-mail messages, are sent to the recipient’s
“Inbox” on Facebook, which also stores copies of messages sent by the recipient, as well
as other information. Facebook users can also post comments on the Facebook profiles
of other users or on their own profiles; such comments are typically associated with a
specific posting or item on the profile. In addition, Facebook has a “Chat” feature that
allows users to send and receive instant messages through Facebook. These chat
communications are stored in the chat history for the account. Facebook also has a
“Video Calling” feature, and although Facebook does not record the calls themselves, it
does keep records of the date of each call.

19, Ifa Facebook user does not want to interact with another user on Facebook,
the first user can “block” the second user from seeing his or her account.

20. Facebook has a “Like” feature that allows users to give positive feedback or
connect to particular pages. Facebook users can “like” Facebook posts or updates, as —
well as webpages or content on third party (i.e., non Facebook) websites. Facebook users
can also become “fans” of particular Facebook pages.

21. Facebook has a search function that enables its users to search Facebook for
keywords, usernames, or pages, among other things.

22. | Each Facebook account has an activity log, which is a list of the user’s
posts and other Facebook activities from the inception of the account to the present. The
activity log includes stories and photos that the user has been tagged in, as well as

connections made through the account, such as “liking” a Facebook page or adding

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someone as a friend. The activity log is visible to the user but cannot be viewed by
people who visit the user’s Facebook page.

23. Facebook “Notes” is a blogging feature available to Facebook users, and it
enables users to write and post notes or personal web logs (“blogs”), or to import their
blogs from other services, such as Xanga, LiveJournal, and Blogger.

24. The Facebook “Gifts” feature allows users to send virtual “gifts” to their
friends that appear as icons on the recipient’s profile page. Gifts cost money to purchase,
and a personalized message can be attached to each gift. Facebook users can also send
each other “pokes,” which are free and simply result in a notification to the recipient that
he or she has been “poked” by the sender.

25. Facebook also has a “Marketplace” feature, which allows users to post free
classified ads. Users can post items for sale, housing, jobs, and other items on the
Marketplace. |

26. In addition to the applications described above, Facebook also provides its
users with access to thousands of other applications on the Facebook platform. When a
Facebook user accesses or uses one of these applications, an update about that the user’s
access or use of that application may appear on the user’s profile page.

27. Facebook uses the term “Neoprint” to describe an expanded view of a given
user profile. The “Neoprint” for a given user can include the following information from
the user’s profile: profile contact information; News Feed information; status updates;
links to videos, photographs, articles, and other items; Notes; Wall postings; friend lists,
including the friends’ Facebook user identification numbers; groups and networks of
which the user is a member, including the groups’ Facebook group identification
numbers; future and past event postings; rejected “Friend” requests; comments; gifts;
pokes; tags; and information about the user’s access and use of Facebook applications.

28. Social networking providers like Facebook typically retain additional
information about their users’ accounts, such as information about the length of service

(including start date), the types of service utilized, and the means and source of any

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payments associated with the service (including any credit card or bank account number).
In some cases, Facebook users may communicate directly with Facebook about issues
relating to their accounts, such as technical problems, billing inquiries, or complaints
from other users. Social networking providers like Facebook typically retain records
about such communications, including records of contacts between the user and the
provider’s support services, as well as records of any actions taken by the provider or
user as a result of the communications.

29. Therefore, the computers of Facebook are likely to contain all the material
described above, including stored electronic communications and information concerning
subscribers and their use of Facebook, such as account access information, transaction
information, and other account information.

SUMMARY OF PROBABLE CAUSE
Jimenez-Hernandez Trans-National Criminal Organization

30. Beginning in December 2018, DEA, Snohomish Regional Drug Task Force
(SRDTF), Skagit County Drug Task Force (SCDTF), and Seattle Police Department
Narcotics (SPD) began investigating a drug trafficking organization (DTO) operating
within the Western District of Washington. Through the use of confidential source
information and traditional investigative techniques, agents! identified several
individuals, including Christian JIMENEZ-HERNANDEZ, Martin Esteban QUINONEZ-
LUQUE, Gonzalo VILLASENOR, Jocelyn LEYVA-CASTELLANOS, and Julio Cesar
RAMIREZ-MENESES, involved in the distribution of methamphetamine, heroin, and
counterfeit oxycodone, commonly referred to as M30s.

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' When I use the term “agents” throughout the affidavit I am referring to law enforcement personnel, to include, but
not limited to DEA and FBI agents and task force officers; Seattle Police Department sergeants, detectives and
officers; and Snohomish Regional Drug and Gang Task Force detectives, and other agents and officers involved in
this investigation.

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Authorization of Wire and Electronic Communications

31. On October 15, 2019, the Honorable James L. Robart, United States
District Judge for the Western District of Washington, signed an Order authorizing
interception of wire and electronic communications of 425-345-8051 (TT3) used by
Gonzalo VILLASENOR, 425-410-6962 (TT4) used by Gonzalo VILLASENOR, and
206-578-9119 (TT6) used by Julio Cesar RAMIREZ-MENESES. In doing so, Judge
Robart found probable cause to believe that TT3, TT4, and TT6 were being used to
further drug trafficking and related offenses. Interception pursuant to that order began
that day and is ongoing, and has strengthened investigators’ belief that VILLASENOR,
RAMIREZ-MENESES, and their associates are distributing narcotics in the Western
Washington area.

32. On October 21, 2019, the Honorable Mary Alice Theiler, United States
Magistrate Judge for the Western District of Washington, signed an order authorizing
real-time GPS tracking and court authorization for the installation and monitoring of a
pen register and trap and trace device for three target telephones, TT11* (360-202-5932),
TT12 (206-661-7401), and TT13 (425-528-4845, believed to be used by Francisco
CARRILLO).

33. On October 22, 2019, the Honorable Mary Alice Theiler, United States
Magistrate Judge for the Western District of Washington, signed an order authorizing
real-time GPS tracking and court authorization for the installation and monitoring of a
pen register and trap and trace device for three target telephones, TT7 (425-443-4979),
TT10 (206-574-8656), and TT14 (360-722-2984).

34. On October 29, 2019, the Honorable Mary Alice Theiler, United States
Magistrate Judge for the Western District of Washington, signed an order authorizing

real-time GPS tracking and court authorization for the installation and monitoring of a

 

2 On October 24, 2019, the phone provider for TT11 advised agents that the phone number of 360-202-5932
changed to 206-669-4690 but the IMSI for the phone device remained the same; therefore, agents were able to
continue receiving GPS tracking and pen register and trap and trace data on TT11 under the existing court order.

Affidavit of SHAWNA MCCANN - 10 UNITED STATES ATTORNEY

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pen register and trap and trace device for three target telephones, TT15 (425-948-9793),
TT16 (541-730-0001), and TT17 (206-460-9015), and a search warrant for the use of a
cell site simulator to identify a cellular device used by Ruben VALENCIA ACEVEDO
(TTA).

35. On October 31, 2019, the Honorable Paula McCandlis, United States
Magistrate Judge for the Western District of Washington, signed an order authorizing
real-time GPS tracking and court authorization for the installation and monitoring of a
pen register and trap and trace device for three target telephones, TT18 (425-921-0597),
TT19 (206-581-5661), and TT20 (425-791-6612).

36. On November 6, 2019, the Honorable Michelle L. Peterson, United States
Magistrate Judge for the Western District of Washington, signed an order authorizing
real-time GPS tracking and court authorization for the installation and monitoring of a
pen register and trap and trace device for three target telephones, TT21 (425-499-5560),
TT22 (206-929-8323), and TT23 (206-353-2038).

37. On November 22, 2019, the Honorable Ricardo S. Martinez, United States
District Judge for the Western District of Washington, signed an Order authorizing the
continued interception of wire and electronic communications of 425-345-8051 (ITT3)
used by Gonzalo VILLASENOR, 425-410-6962 (TT4) used by Gonzalo VILLASENOR;
the initial interception of wire and electronic communications of 206-460-9015 used by
Bryan POLLESTAD (TT17), 206-929-8323 used by Manuel PANTOJA (TT22), and
206-970-2993 used by Bryan POLLESTAD (TT24)’; and the initial interception of wire
communications only of 541-730-0001 used by Jesus DE LEON. In doing so, Judge
Martinez found probable cause to believe that TT3, TT4, TT17, TT22, TT24, and TT16
were being used to further drug trafficking and related offenses. Interception pursuant to

that order began that day and is ongoing, and has strengthened investigators’ belief that

 

3 On November 26, 2019, agents obtained a revised wiretap Order from Judge Martinez to correct the area code of
TT24 from 206-970-2993 to 425-970-2993.

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VILLASENOR, RAMIREZ-MENESES, and their associates are distributing narcotics in
the Western Washington area.

PROBABLE CAUSE AS TO TARGET SOCIAL MEDIA 1 (TSM1)
Identification of VILLASENOR as the User of TSM1

38. On October 22, 2019, at approximately 8:39 a.m., agents intercepted a call
from an unidentified female using phone number 206-226-9498 (“UF9498”) to
VILLASENOR (using TT3) (Session 583). During the call, UF9498 said it got
disconnected from Facebook. VILLASENOR reassured UF9498 that he had tried calling
her yesterday, but UF9498 said she did not have any missed calls. VILLASENOR said
he thought UF9498 had something important to tell him. UF9498 confirmed she had
something important to tell VILLASENOR and that was why she was checking on
Facebook and wondering why VILLASENOR had not called her. VILLASENOR said
he would call UF9498 later so she could tell him the important information.
VILLASENOR asked UF9498 to send him a message, and UF9498 agreed.

39. On November 4, 2019, at approximately 8:42 a.m., agents intercepted a call
from VILLASENOR (using TT3) to a male referred to as Hector using phone number 52-
1-317-121-6646 (“Hector”) (Session 1315). During the call, VILLASENOR told Hector
to tell his mother to go on Facebook because VILLASENOR has sent the photo.
VILLASENOR again told Hector to tell her to go on Facebook because VILLASENOR
had sent the code [possibly a code for a wire transfer of money].

40. Agents conducted an online search for VILLASENOR’s Facebook account
and identified TSM1 as a possible match. TSM1 listed a username of “Gonzalo
Villasenor Godinez.” TSM1 allowed limited public access to wall posts and
posted/uploaded photographs, which agents reviewed. One photograph posted by the
user of TSM1 on April 11, 2018, showed a Hispanic male standing in front of a black
Hummer H2 with a Washington license plate of “BFY8145” visible in the photograph. A |
law enforcement database search conducted. on November 23, 2019, showed that the

black Hummer H2 bearing Washington license plate BFY8145 was registered to

Affidavit of SHAWNA MCCANN - 12 UNITED STATES ATTORNEY
USAO 2019R00179 (Search Warrant to Facebook) 700 STEWART STREET, SUITE 3220

SEATTLE, WASHINGTON 98101
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“VILLASENOR, GONZALO” at address “15700 44TH AVE W., APT F201,
LYNNWOOD, WA 98087.” During the course of this investigation, agents have
conducted surveillance of VILLASENOR on numerous occasions and identified 15700
44 Ave W., Apt F201, Lynnwood, Washington as a residence frequented by
VILLASENOR. Additionally, in October and November 2019, surveillance frequently
observed VILLASENOR driving the black Hummer H2 bearing Washington license plate
BFY8145.

41. Agents also reviewed several other photographs posted on TSM1,
including the current and previous profile pictures, and observed the same Hispanic male
in different locations and poses, including “selfies.” Agents compared the photographs
on TSM1 to known photographs of VILLASENOR, including a Department of Licensing
photograph, and positively identified the user of TSM1 as VILLASENOR. I believe the
Facebook page is still being utilized by VILLASENOR because he updated his Facebook
“Cover photo” on TSM1, to a photograph of himself and three females, as recent as
November 18, 2019.

42. The content agents are able to view is limited and is only what is displayed
for public viewing on VILLASENOR’s Facebook pages. I was not able to view private
content associated with VILLASENOR’s Facebook page because I am not “friends” with
him on Facebook. In addition, I believe there is more content available on TSM that is
not public to other users that would be beneficial in furthering this investigation. I know
from my training and experience that individuals utilize Facebook to communicate with.
each other or post videos publicly of their activities so their friends can view it. They
also post illicit activity to “brag” and show off to other members involved in illicit
activity. I believe VILLASENOR is likely doing the same thing, but I have been unable

to view any such content due to his account restricting certain information from public

view.

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November 13, 2019 Consent Search of Julio Cesar RAMIREZ-MENESES’s Cell Phone

43. On November 13, 2019, remote video surveillance of the residence located
at 11753 SE 225th Court, Kent, Washington showed a silver Mazda bearing Washington
license plate BQN5917 parked in front of the residence. A male, later identified to be
Julio Cesar RAMIREZ-MENESES based on a Mexican passport he provided to law
enforcement, was observed with a box near the trunk of the silver Mazda. From previous
surveillance and investigation of RAMIREZ-MENESES, agents knew RAMIREZ-
MENESES to conceal narcotics in boxes. Accordingly, agents directed a marked police
unit to contact RAMIREZ-MENESES in the silver Mazda while it was parked in a public
parking lot. RAMIREZ-MENESES was informed that he was under investigation for
narcotics violations, and RAMIREZ-MENESES responded by stating he had previously
worked with law enforcement and wanted to help the agents. .

44. Agents searched RAMIREZ-MENESES before placing him in the marked
patrol unit to speak with him. During the person search, agents located approximately
one ounce of methamphetamine in RAMIREZ-MENESES’s front right pocket. While
agents were speaking to RAMIREZ-MENESES, Detective Jamie Sturgile of Tukwila
Police Department deployed a narcotics detecting dog around the exterior of the silver
Mazda. Upon performing the K9 “sniff,” the K9 alerted at the driver’s door, indicating a
positive presence of narcotics odor.

45. RAMIREZ-MENESES provided agents with verbal consent, which was
recorded, to search his cell phone and verbal and written consent to search his residence.
During the search of RAMIREZ-MENESES’s residence at 11735 SE 225th Ct, Kent,
Washington, agents seized approximately six pounds of suspected methamphetamine and
a small amount of suspected heroin. During the search of RAMIREZ-MENESES’s cell
phone, agents identified a Facebook messenger application downloaded on RAMIREZ-
MENESES’s cell phone that contained several communication strings, including a

communication string in Spanish and English between RAMIREZ-MENESES and

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VILLASENOR (using TSM1). DEA-contracted linguists translated the Spanish
communications into English, and the translations are quoted in part below.
Facebook Messages Between TSM1 and RAMIREZ-MENESES About Drug Trafficking
46. The following conversation occurred in the Facebook messenger
communication string between VILLASENOR (using TSM1) and RAMIREZ-
MENESES on October 30, 2019:
RAMIREZ-MENESES: Listen, I want to start looking for people
[suppliers/distributors of narcotics] again.
RAMIREZ-MENESES: On top of being already forced. I need to make
something [earn money from narcotics transactions]. The cold is coming
[cold weather is coming and less money will be coming in].
RAMIREZ-MENESES: Let’s see how you are doing [check the quality of
narcotics VILLASENOR is getting] so I can work with you like before
[resume conducting narcotics trafficking with VILLASENOR].
RAMIREZ-MENESES: Or what do you think?
TSM1: Well, there is a way for better prices [on narcotics]
-RAMIREZ-MENESES: Do you have any samples [small quantities of
narcotics to test the quality] that you can sell me so I can start moving
around [distribute narcotics]?
RAMIREZ-MENESES: I would need some 4 oz. of water [4 ounces of
methamphetamine] and half of black [1/2 ounce of heroin].
RAMIREZ-MENESES: To start looking for people.
TSM1: Yea, there is a way.
[conversation continued later that day]
TSM1: Okay. Hey, so what are you going to take?
RAMIREZ-MENESES: I only need for samples maybe 2 or 3 oz. of water

[2-3 ounces of methamphetamine] and one half of more [1/2 ounce of

heroin].
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RAMIREZ-MENESES: Let’s see how the people [narcotics
manufacturers/suppliers] are doing to make adjustments [improve quality of
narcotics].

[conversation continued later that day]

TSM1: Okay, ready.

RAMIREZ-MENESES: How much is it going to be [price for narcotics]?
RAMIREZ-MENESES: But give them to me separate [separately package
the methamphetamine and heroin].

RAMIREZ-MENESES: I didn’t bring a scale.

TSM1: 200 each water [$200 for each ounce of methamphetamine] and the
half, I am going to give it to you at 250 [$250 for the 1/2 ounce of heroin].
RAMIREZ-MENESES: Okay.

RAMIREZ-MENESES: I’m here.

47. Based on my training and experience and the Facebook communications
referenced above, I believe RAMIREZ-MENESES is arranging to purchase narcotics
from VILLASENOR, who is using TSM1 to facilitate the narcotics transaction. I know
from my training and experience that “sample” is a common term used for small
quantities of narcotics to test the quality and “work” is a common term used for
conducting narcotics trafficking. I know from my training and experience that “water” is
a common term used for methamphetamine and “black” is a common term used for
heroin.

48. The following conversation occurred in the Facebook messenger
communication string between VILLASENOR (using TSM1) and RAMIREZ-
MENESES on October 4, 2019:

RAMIREZ-MENESES: [a screenshot with a text message communication
between RAMIREZ-MENESES and phone number 425-642-9144
(“UI9144”)]

UI9144: Need 2 pounds [of methamphetamine]

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UI9144: Good morning can u get me 1 pound [of methamphetamine]
RAMIREZ-MENESES: Friend I’m trying to get more clear
[methamphetamine] but I have to go get it
UI9144: Where
UI9144: U need driver
UI9144: I have like 5 pounds [of methamphetamine] sold [already
lined up customers]
[end of screenshot]
RAMIREZ-MENESES: Call him or send him a message [telling
VILLASENOR to call or text UI9144 about selling UI9144 the 5 pounds of
methamphetamine].
RAMIREZ-MENESES: He [UI9144] knows me as Julio
TSM1: Alright, old man.

49. Based on my training and experience and the Facebook communications
referenced above, I believe RAMIREZ-MENESES is facilitating a narcotics transaction
between UI9144 and VILLASENOR, using TSM1 to correspond about the narcotics
transaction. I know from my training and experience that “clear” is a common term used
for methamphetamine and that “pounds” is a common term used for the unit/quantity of
methamphetamine being sold.

50. The following conversation occurred in the Facebook messenger

|| communication string between VILLASENOR (using TSM1) and RAMIREZ-

MENESES on September 12, 2019:
RAMIREZ-MENESES: They’re bringing me the sample of soda [small
quantity of cocaine to test quality]. It’s just that the guy told me that we’re
going to work directly without the ones that are intermediaries [get cocaine
directly from the supplier].
RAMIREZ-MENESES: Yes, you tell me where. _

Affidavit of SHAWNA MCCANN - 17 UNITED STATES ATTORNEY

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Case 2:19-mj-00579-MAT Document1 Filed 12/03/19 Page 19 of 27

RAMIREZ-MENESES: I’m going to bring you the sample [small quantity
of cocaine to test quality] as soon as I get it.

TSMI1: Well over here by Lynnwood

TSM1: I’m busy right now but I’ll be free in two hours. _
RAMIREZ-MENESES: Send me an address and a time so that I can go
down because of traffic.

RAMIREZ-MENESES: The guy [supplier of cocaine] says that if we like it
[think the sample is good quality cocaine], he’ll give us half a brick [half a
kilogram of cocaine] and if we figure we can do it [sell the half kilogram of
cocaine], he’ ll bring us blocks [supply multiple kilograms of cocaine].
RAMIREZ-MENESES: He did it, man [delivered the sample of cocaine].
All talcum [good quality of cocaine]. I’m going to work [narcotics
trafficking/transactions].
'TSM1: Come over here and then I’ll let you know where I am because I’m
moving.

51. Based on my training and experience and the Facebook communications
referenced above, I believe RAMIREZ-MENESES obtained cocaine from an unknown
supplier, found the quality of the cocaine to be good, and was discussing getting
kilograms of cocaine to distribute with VILLASENOR, using TSM1 to correspond about
the narcotics transactions. I know from my training and experience that “soda” and
“talcum” are common terms used for cocaine. I know from my training and experience
that “a brick” is a common term used for one kilogram of cocaine and that “blocks” is a
common term to refer to multiple kilograms of cocaine.

52. The following conversation occurred in the Facebook messenger
communication string between VILLASENOR (using TSM1) and RAMIREZ-
MENESES on September 10, 2019:

TSMI: Right now I’m looking for someone to see if they can get them out
[sell narcotics pills for VILLASENOR].

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RAMIREZ-MENESES: Okay

RAMIREZ-MENESES: Thanks, dude

[Facebook messenger phone call from RAMIREZ-MENESES to TSM1]
RAMIREZ-MENESES: Buddy, 26 [narcotics pills] are missing.
RAMIREZ-MENESES: There are 274 [narcotics pills total]

TSM1: Fucking Gordo said he had only taken 6 [narcotics pills].
RAMIREZ-MENESES: He once gave me back 200 [narcotics pills] and 70
[narcotics pills] were missing and he told me he only took 10 [narcotics
pills].

RAMIREZ-MENESES: And what price are you going to give them to me
for, dude [price per narcotics pill]?

TSMI1: 8 pesos [$8.00 per narcotics pill], or what were you thinking?
RAMIREZ-MENESES: Okay, I’ ll see if J can do something.

TSM1: What do you think? Is that good, or what?

RAMIREZ-MENESES: Dude, when I started out with you I was making
300 and 400 [$300-$400 in profit per narcotics transaction]. Right now,
man, honestly I’m scraping by. As long as I make something it’s good. I’m ~
not going to start haggling. I want to start working [conducting narcotics
trafficking/transactions]. The water [methamphetamine] that I gave you, I
got it for 1900 [$1,900 for a pound of methamphetamine] and I reduced it
for you to 1750 [$1,750 for a pound of methamphetamine] because I want
them to give me soda [cocaine]. With the ones I broke, I'll be breaking
even with about 2,000 in profits for the 10 water [$2,000 in profits from
narcotics transactions of 10 pounds of methamphetamine]. I don’t see a loss
with the water [methamphetamine transactions] if you don’t bet on the soda
[cocaine].

RAMIREZ-MENESES: I’m going to take 50 tomorrow to see how it goes

dude [purchase 50 narcotics pills].

Affidavit of SHAWNA MCCANN - 19 UNITED STATES ATTORNEY
USAO 2019R00179 (Search Warrant to Facebook) FER UTR OBIOL

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TSM1: I just can’t get them out. I’m useless with that too [can’t move/sell
the narcotics pills] |
TSM1: I’ve gotten nothing out.

53. Based on my training and experience and the Facebook communications
referenced above, I believe RAMIREZ-MENESES is discussing narcotics transaction
with VILLASENOR, using TSM1 to correspond about the narcotics transaction. I know
from my training and experience that amounts of 200 or more commonly refer to
narcotics pills and that “8 pesos” commonly refers to $8.00 per narcotics pill, which is.
the price VILLASENOR has charged other customers per narcotics pills based on wire
communications of VILLASENOR intercepted by agents during the course of the court-
authorized wiretap. At this time, agents do not know what specific pills they are referring
to; however, VILLASENOR has been known, during the course of this investigation, to
traffic counterfeit M30s. I know from my training and experience that “water” is a
common term used for methamphetamine and “soda” is a common term used for cocaine.

CONCLUSION

54. Based on the foregoing, there is probable cause to believe that TSM1 is
being used to conduct drug trafficking. Accordingly, there is probable cause to believe
that searching the stored records associated with TSM1 will reveal evidence, fruits, and
instrumentalities of distribution and possession with intent to distribute controlled
substances, and conspiracy to commit same, in violation of 21 U.S.C. §§ 841(a)(1) and
846. In particular, the search warrant will enable Agents to obtain photographs and
messages to/from VILLASENOR in connection with VILLASENOR’s drug dealing,
allowing investigators to identify co-conspirators, conduct better surveillance of drug
activities, locate storage locations, understand connections between already known

people and places involved in the conspiracy, and assist in identifying currently

unidentified targets.
Affidavit of SHAWNA. MCCANN - 20 UNITED STATES ATTORNEY
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REQUEST FOR SEALING AND DELAYED NOTICE

55. The investigation remains ongoing, including the use of a wiretap. The
wiretap application authorizes interception for up to 30 days, and is expected to last at
least until December 21, 2019. However, it is possible, even likely, that investigators
will seek to renew interception on some of the target telephones and/or to “spin”to newly
identified target telephones. Based on information provided by sources of information
and other law enforcement personnel, I believe that the investigation will ultimately lead
us to other jurisdictions. I also believe that the investigation will ultimately lead us to
numerous other individuals involved in narcotics trafficking. Accordingly, the
investigation will most assuredly last more than 90 days. Delayed notification is justified
because there is reasonable cause to believe that premature disclosure of this Application
will may have an adverse result, as defined in 18 U.S.C. § 2705, including risking the
safety of informants, causing flight from prosecution or destruction of evidence, and
seriously jeopardizing the investigation by giving the person notified an opportunity to
destroy evidence, change patterns of behavior, advise confederates, and flee from
prosecution. See 18 U.S.C. § 3103a(b)(1). Finally, there is reasonable necessity for the
use of the technique described above, for the reasons set forth above. See 18 U.S.C. §
3103a(b)(2). I therefore request delayed notice until February 21, 2019 (60 days past the
end of the court authorized wiretap), pursuant to 18 U.S.C. § 3103a(b) and Federal Rule
of Criminal Procedure 41(f)(3), with leave to request further delays on good cause
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Affidavit of SHAWNA MCCANN - 21 UNITED STATES ATTORNEY

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56. In light of the ongoing matter pertaining to the investigation of the
JIMENEZ-HERNANDEZ TCO to include the use of Title ITI intercepts, and to avoid any
premature disclosure of the existence of the above-described investigation to anyone who
may generally view the files of the clerk of the United States District Court for the
Western District of Washington, with the result and risk that the investigation may be
compromised, it is requested that this Affidavit, accompanying Application, and Warrant,
as well as Pen Register papers, be sealed until further Order of this Court,

Qu
ShawnaMctann ~~ \\

Special Agent
Federal Bureau of Investigation

The above-named agent provided a sworn statement attesting to the truth of the

contents of the foregoing affidavit on the 3 day of December, 2019.

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THE HON? Y ALICE THEILER
United States Magistrate Judge

Affidavit of SHAWNA MCCANN - 22 UNITED STATES ATTORNEY
USAO 2019R00179 (Search Warrant to Facebook) 700 STEWART STREET, SUITE 5220

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(206) 553-7970
 

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ATTACHMENT A
Property to Be Searched
This warrant applies to information associated with the following Facebook
account:
“Gonzalo Villasenor Godinez,” with the Facebook ID number 100006827347382,
and URL: Facebook.com/GONZALO.villasenorgodinez. 1
that is stored at a premises owned, maintained, controlled, or operated by Facebook, a

social networking company headquartered in Menlo Park, California.

Attachment A & B- 1 UNITED STATES ATTORNEY.

USAO 2019R00179 (Search Warrant to Facebook) Oe RT eee NOBIOL

(206) 553-7970
 

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ATTACHMENT B
Particular Things to be Seized
I. Information to be disclosed by Facebook

To the extent that the information described in Attachment A is within the
possession, custody, or control of Facebook, including any messages, records, files, logs,
or information that have been deleted but are still available to Facebook, or have been
preserved pursuant to a request made under 18 U.S.C. § 2703(f), Facebook is required to
disclose the following information to the government for each user ID listed in
Attachment A:

(a) All contact and personal identifying information, including full name, user
identification number, birth date, gender, contact e-mail addresses, Facebook passwords,
Facebook security questions and answers, physical address (including city, state, and zip
code), telephone numbers, screen names, websites, and other personal identifiers.

(b) All activity logs for the account and all other documents showing the user’s
posts and other Facebook activities;

(c) All Photoprints;

(d) All Neoprints, including profile contact information; News Feed
information; status updates; links to videos, photographs, articles, and other items; Notes;
Wall postings; friend lists, including the friends’ Facebook user identification numbers;
groups and networks of which the user is a member, including the groups’ Facebook
group identification numbers; future and past event postings; rejected “Friend” requests;
comments; gifts; pokes; tags; and information about the user’s access ‘and use of
Facebook applications;

(e) All other records of communications and messages made or received by the
user, including all private messages, chat history, video calling history, and pending
Friend requests;

(f) All check-ins and other location information;

Attachment A - 1 UNITED STATES ATTORNEY
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(g) AIL IP logs, including all records of the IP addresses that logged into the
account;

(h) All records of the account’s usage of the “like” feature, including all
Facebook posts and all non-Facebook webpages and content that the user has liked;

(i) All information about the Facebook pages that the account is or was a “fan”
of;

(j) All past and present lists of friends created by the account;

(k) All records of Facebook searches performed by the account;

(1) All information about the user’s access and use of Facebook Marketplace;

(m) The length of service (including start date), the types of service utilized by
the user, and the means and source of any payments associated with the service
(including any credit card or bank account number);

(n) All privacy settings and other account settings, including privacy settings:
for individual Facebook posts and activities, and all records showing which Facebook
users have been blocked by the account; and

(0) All records pertaining to communications between Facebook and any
person regarding the user or the user’s Facebook account, including contacts with support
services and records of actions taken.

Facebook is hereby ordered to disclose the above information to the
government within fourteen (14) days of the date of service of this warrant.

I. Information to be seized by the government

All information described above in Section | that constitutes evidence, fruits or
instrumentalities of the crimes of Distribution of controlled substances, and conspiracy,
in violation of 21 U.S.C. §§ 841(a)(1) and 846; (with respect to Gonzalo
VILLASENOR),; as well as all information relevant to the location of VILLASENOR,
including:

(a) any and all Wall Posts, private messages, status updates, chat history, friend

requests, postings, photographs, or any other information, records, or other material or

Attachment A - 2 UNITED STATES ATTORNEY
USAO 2019R00179 (Search Warrant to Facebook) Foe STON ORIOL

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information that relates to drug trafficking, or activity related to or in furtherance of drug
trafficking;

(b) . any and all IP logs, including all records of the IP addresses that logged
into the account, and the dates and times such logins occurred, as well as any other
connection information;

(c) records relating to who created, used, or communicated with the user ID,
including records about their identities and whereabouts;

(d) financial records and information, including but not limited to money
transfers or wires to Mexico; | |

(f) information identifying the names, location, or other contact information of
people in contact with suspected drug traffickers;

(g) any information, records, or other material relevant to firearm possession or
trafficking by Gonzalo VILLASENOR; and

(h) any information, records, or other material relevant to the whereabouts of

Gonzalo VILLASENOR.

Attachment A - 3 UNITED STATES ATTORNEY
. 700 STEWART STREET, SUITE 5220
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